Case 2: 94- -C\/- 02862- BBD- -cgc Document 467 Filed 07/06/05 Page 1 of 4 Page|%
D.C.

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IN THE UNITED STATES DISTRICT COURT

 

FOR THE WESTERN DIsTRICT oF TENNESSEE
WESTERN DIvIsIoN Uw'bus §SM
RICHARD BOWER, et al.,
Plaintiffs, Case No.: 94-2862 D

V.

FEDERAL EXPRESS CORPORATION,

Defendant.

 

ORDER

 

lt appears that the complaint in the above matter was filed Ootober 24, 1994. Accordingly,
this case has been pending for more than a decade. This matter is set for a firm trial date on
February 13, 2006. In order to move the case to resolution, the Court Will refer this case to private
mediation The Court proposes to assign the matter to mediator Arnold Perl, (bio attached). Any
objections to the reference to mediation in general, or to mediator Arnold Perl, specifically, should
be lodged with the court on or before July 31, 2005.

IT IS SO ORDERED this ¢'Qé day of

 
    

DONALD
UN TED STATES DISTRICT JUDGE

This document entered on the docket sheet ln co lianca
with Flute 58 and/or FQ{a) FRCP on 2 "//jQ_§

 

Case 2:94-CV-O2862-BBD-cgcB%)MW‘WP]"BWMJQlG/OB Page 2 of 4 PagelD 294
Arno|d E. Perl
Memphis, TN
Professr'on

Attorney and a Founder ot Young & Per|, PLC, a |Vlemphis based law firm with a national practice in
labor and employment law. Mr. Per| also serves as a mediator in both the private and public sector.

Educarional Background

N|r. Per| received his B.A. in 1961 and LLB in 1963 from the University of illinois where he was a
member of the Editorial Board of the Law Fieview.

Professr'onal Honors

o l_isted in the Apri| 2005 edition ot Busr'ness Tennessee magazine as one of the Top 100 ot
‘Tennessee’s Most Powerfu| People”

0 Reoipient of the 2004 “Communicator of the Year” Award presented by the Pubio Relations

Society ot America's |Vlemphis chapter

Flecipient of Memphis Regiona| Chamber’s First “2004 Community Qua|ity of Life Award”

“Best Lawyers in America” (each edition)

“|nternational Who’s Who of Management Labour & Employment Lawyers" (current ed.)

Chairman Emeritus of the Labor and Employment Law Section ot the Tennessee Bar

Association

4 One ot twenty-five management attorneys selected in 1994 to serve on The National Labor

Fte|ations Board Advisory Pane|, appointed by NLRB Chairman William Gou|d

CCl-| Labor Law Fleports Panel of Experts

0 Wbo’s Who, Memphis Magazine, Top 100 influential Leaders (2002 - 2004 ed.)

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Boards of Dr'rectors

Chairman, |V|emphis-Shelby County Airport Authority

Chairman Emeritus, Commissioners Committee, Airport Counci| international (AC|)
Chairman, New |Vlemphis Arena Public Bui|ding Authority

Secretary and Counse|, lVlemphis Flegional Chamber of Commerce

Senior Vice-President, Temple lsrae|, N|emphis, TN

Trustee Emeritus, University of Tennessee

......

Medr'a Coverage

Mr. Per| is frequently quoted in the nation’s leading newspapers His remarks have appeared in the
Wall Street Journal (front page), USA Today, New York Tr'mes, Chicago Tribune, and Memphis’
Commercial Appeal. Profiles on Mr. Perl have appeared in the Commercr‘al Appeal, Memphis
Busr'ness Journal, Agenda Magazr'ne, and The University of Illinois Alumnr' News.

 

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Honorable Bernice Donald
US DISTRICT COURT

